                 Case 1:11-cr-00412-JLT-SKO Document 43 Filed 07/12/12 Page 1 of 3



      1 BENJAMIN B. WAGNER
        United States Attorney
      2 YASIN MOHAMMAD
        Assistant United States Attorneys
      3 2500 Tulare St., Suite 4401
        Fresno, CA 93721
      4 Telephone: (559) 497-4000
        Facsimile: (559) 497-4099
      5 Attorneys for Plaintiff
        United States of America
      6

      7

      8                             IN THE UNITED STATES DISTRICT COURT

      9                                 EASTERN DISTRICT OF CALIFORNIA

     10

     11   UNITED STATES OF AMERICA,                              CASE NO. 11-CR-412
     12                                 Plaintiff,               STIPULATION TO CONTINUE
                                                                 STATUS CONFERENCE AND
     13   v.                                                     EXCLUDE TIME PERIODS UNDER
                                                                 SPEEDY TRIAL ACT; [PROPOSED]
     14   VICTOR MANUEL TORRES AND                               FINDINGS AND ORDER
          FERNANDO QUINTERO,
     15
                                        Defendants,
     16

     17

     18                     STIPULATION TO CONTINUE STATUS CONFERENCE
                            AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT
     19
                 Plaintiff United States of America, by and through its counsel of record above, and
     20

     21 defendants, by and through their counsel of record, hereby stipulate as follows:

     22          1.      By previous order, this matter was set for status on July 16, 2012.

     23          2.      By this stipulation, defendants now move to continue the status conference until
     24
          August 20, 2012 and to exclude time between July 16, 2012 and August 20, 2012 under Local Code
     25
          T4 and 18 U.S.C. § 3161. Plaintiff stipulates to this request.
     26
                 3.      The parties agree and stipulate, and request that the Court find the following:
     27
                 a.      The government has represented that the discovery associated with this case includes
     28
                                                             1

PDF created with pdfFactory trial version www.pdffactory.com
                 Case 1:11-cr-00412-JLT-SKO Document 43 Filed 07/12/12 Page 2 of 3


          investigative reports, lab reports, audio and video files, and wiretap evidence including voluminous
      1
          translations. Much of this discovery has been either produced directly to counsel and/or made
      2

      3 available for inspection and copying. The government recently received a new wave of wiretap and

      4 related discovery that will be produced by the end of this week.

      5          b.      Counsel for defendant desires additional time consult with his/her client, to review
      6
          the current charges, to conduct investigation and research related to the charges, to review and copy
      7
          discovery for this matter, to discuss potential resolutions with his/her client, to prepare pretrial
      8
          motions, and to otherwise prepare for trial. Furthermore, Counselor Capozzi is set to be in trial on
      9

     10 the date the status conference is presently set.

     11          c.      The Parties believe that failure to grant the above-requested continuance would deny

     12 the defendants the reasonable time necessary for effective preparation, taking into account the

     13 exercise of due diligence, and for further plea negotiations.

     14
                 d.      The government stipulates to the continuance.
     15
                 e.      Based on the above-stated findings, the ends of justice served by continuing the case
     16
          as requested outweigh the interest of the public and the defendant in a trial within the original date
     17

     18 prescribed by the Speedy Trial Act.

     19          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

     20 seq., within which trial must commence, the time period of July 16, 2012 to August 13, 2012,

     21
          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
     22
          because it results from a continuance granted by the Court at defendant’s request on the basis of the
     23
          Court's finding that the ends of justice served by taking such action outweigh the best interest of the
     24
          public and the defendant in a speedy trial.
     25

     26          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

     27 the Speedy Trial Act dictate that additional time periods are excludable from the period

     28
                                                              2

PDF created with pdfFactory trial version www.pdffactory.com
                Case 1:11-cr-00412-JLT-SKO Document 43 Filed 07/12/12 Page 3 of 3


          within which a trial must commence.
      1
          IT IS SO STIPULATED.
      2

      3

      4 DATED:          July 11, 2012.

      5
                                                /s/ Yasin Mohammad___________
      6                                         YASIN MOHAMMAD
                                                Assistant United States Attorney
      7

      8 DATED:          July 11, 2012.

      9
                                                /s/ Anthony Capozzi _________
     10                                         ANTHONY CAPOZZI
                                                Counsel for Defendant Torres
     11

     12 DATED:          July 11, 2012.

     13
                                                /s/ David Balakian _________
     14                                         DAVID BALAKIAN
                                                Counsel for Defendant Quintero
     15

     16

     17 IT IS SO ORDERED.

     18      Dated:    July 12, 2012                                /s/ Sheila K. Oberto
                                                           UNITED STATES MAGISTRATE JUDGE
     19

     20

     21

     22

     23

     24

     25

     26

     27

     28
                                                           3

PDF created with pdfFactory trial version www.pdffactory.com
